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                             THE UNITED STATED DISTRICT COURT
                                     DISTRICT OF UTAH

CRICUT, INC., a Delaware corporation,
                                                       ORDER GRANTING [8] MOTION FOR
                Plaintiff,                               PRO HAC VICE ADMISSION OF
                                                              SUSAN KENNEDY
v.                                                            Case No. 2:21-cv-00601-DBB
ENOUGH FOR EVERYONE, INC., a Nevada                            District Judge David Barlow
corporation, and DESIRÉE TANNER, an
individual,

                Defendants.


         It appearing to the Court that Petitioner meets the pro hac vice admission requirements of

DUCiv R 83-1.1(d), the motion for the admission pro hac vice of Susan Kennedy, 1 of Baker

Botts L.L.P., in the United States District Court, District of Utah in the subject case is

GRANTED.

         Dated this 14th day of October 2021.

                                                       BY THE COURT



                                                       David Barlow
                                                       United States District Judge




1 ECF No. 8.
